     Case 3:19-cv-00219-M Document 11 Filed 03/11/19     Page 1 of 19 PageID 172


                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

MA LEG PARTNERS 1,                   §
                                     §
                    Plaintiff,       §
                                     §
v.                                   §      Civil Action No. 3:19-cv-00219-M
                                     §
CITY OF DALLAS,                      §
                    Defendant.       §

 DEFENDANT CITY OF DALLAS’S BRIEF IN SUPPORT OF MOTION TO DISMISS
            FOR LACK OF SUBJECT-MATTER JURISDICTION


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                                     CITY OF DALLAS
      Case 3:19-cv-00219-M Document 11 Filed 03/11/19                                                      Page 2 of 19 PageID 173


                                                           TABLE OF CONTENTS

I.             Overview .............................................................................................................................. 1

II.            Argument and Authorities.................................................................................................... 2

     A.        Legal Standards Under 12(b)(1). ........................................................................................ 2

     B.        Plaintiff lacks standing to bring its claims against the City. ............................................... 2

          a.      Plaintiff lacks standing to bring its Fourth and Fourteenth Amendment Claims. ............ 3
          b. Plaintiff lacks standing to bring claims for violations of its Fourteenth Amendment right
          to privacy. ................................................................................................................................ 6
          c.      Plaintiff lacks standing to assert a Compelled Speech Claim. ......................................... 7
          d.      Plaintiff lacks standing to bring a claim under the Unconstitutional Conditions Doctrine.
                  .......................................................................................................................................... 7
          e.      Plaintiff lacks standing to bring an equal protection challenge. ...................................... 8
          f. Plaintiff lacks standing to bring the Fifth and Fourteenth Amendment Self Incrimination
          claims in Count Two. .............................................................................................................. 9
          g. Plaintiff fails to allege an injury in fact to establish standing for Counts Three through
          Eight. ....................................................................................................................................... 9
          h.      Plaintiff fails to allege an injury in fact to establish standing for Count Nine. .............. 13
III.           PRAYER ............................................................................................................................ 13

CERTIFICATE OF SERVICE ..................................................................................................... 14




                                                                               ii
   Case 3:19-cv-00219-M Document 11 Filed 03/11/19                                       Page 3 of 19 PageID 174


                                             TABLE OF AUTHORITIES

Cases

Alderman v. United States, 394 U.S. 165 (1969) ............................................................................ 6

Audler v. CBC Innovis Inc., 519 F.3d 239 (5th Cir. 2008). ............................................................ 2

Cheffer v. Reno, 55 F.3d 1517 (11th Cir.1995) ...................................................................... 13, 15

City of Los Angeles v. Lyons, 461 U.S. 95 (1983) ........................................................................ 14

Comer v. Cisneros, 37 F.3d 775 (2d Cir. 1994) ............................................................................ 11

Cornerstone Christian Sch. v. Univ. Interscholastic League, 563 F.3d 127 (5th Cir. 2009). ........ 3

Dickens v. Lewis, 750 F.2d 1251 (5th Cir. 1984) ........................................................................... 5

E.E.O.C. v. Peterson, Howell & Heather, Inc., 702 F. Supp. 1213 (D. Md. 1989) ........................ 5

Fla. Dep't of Ins. v. Chase Bank of Tex. Nat'l Ass'n, 274 F.3d 924 (5th Cir.2001) ........................ 3

Hampton Co. Nat. Sur., LLC v. Tunica County, Miss., 543 F.3d 221 (5th Cir.2008). ................. 11

Home Builders Ass’n of Miss., Inc. v. City of Madison, 143 F.3d 1006 (5th Cir. 1998). ............... 2

Inclusive Cmty. Project, Inc. v. Tex. Dep’t of Hous. & Cmty. Affairs (“ICP I”), No. 3:08-CV-
  0546-D, 2008 WL 5191935, (N.D. Tex. Dec. 11, 2008). ........................................................... 3

Johnson v. State of Missouri, 142 F.3d 1087 (8th Cir. 1998) ....................................................... 14

Johnson v. State of Mo., 142 F.3d 1087 (8th Cir.1998) ................................................................ 14

Koontz v. St. Johns River Water Mgmt. Dist., 570 U.S. 595 (2013) ............................................... 9

Lambert v. Hartman, 517 F.3d 433 (6th Cir. 2008) ........................................................................ 8

Lowe v. Clift, No. 1:06-CV-076, 2007 WL 2112672, (E.D. Tenn. July 19, 2007) ..................... 6, 8

Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992). .................................................................... 3

Maryland v. Macon, 472 U.S. 463 (1985) ...................................................................................... 7

Maryland v. Macon, 472 U.S. 463 (1985) ...................................................................................... 6

Moore v. Comm'r, 722 F.2d 193 (5th Cir. 1984) .......................................................................... 11

Rakas v. Illinois, 439 U.S. 128 (1978) ............................................................................................ 5


                                                                 iii
    Case 3:19-cv-00219-M Document 11 Filed 03/11/19                                              Page 4 of 19 PageID 175


Roark & Hardee LP v. City of Austin, 522 F.3d 533 (5th Cir. 2008) ........................................... 15

Rumsfeld v. Forum for Academic & Institutional Rights, 547 U.S. 47 (2006). ........................ 8, 10

Sanchez v. County of San Diego, 464 F.3d 916 (9th Cir. 2006) ................................................... 10

Smook v. Minnehaha County, 457 F.3d 806 (8th Cir.2006) ......................................................... 14

Socialist Labor Party v. Gilligan, 406 U.S. 583 (1972) ............................................................... 15

Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016) .............................................................................. 5

Stamm v. Cty. of Cheyenne, 326 F. Supp. 3d 832 (D. Neb. 2018) .............................................. 6, 9

Stewart v. City of Red Wing, 554 F. Supp. 2d 924 (D. Minn. 2008) ...................................... 10, 14

Tobin v. City of Peoria, 939 F.Supp. 628 (C.D.Ill.1996).............................................................. 15

United States v. Hays, 515 U.S. 737 (1995) ................................................................................... 2

United States v. Herrera, 584 F.2d 1137 (2d Cir. 1978) ................................................................ 7

United States v. Jacobsen, 466 U.S. 109 (1984)............................................................................. 5

United States v. Kennedy, 638 F.3d 159 (3d Cir. 2011) ................................................................. 5

United States v. Watson, 244 F. App'x 484 (3d Cir. 2007) ............................................................. 6

Wade v. Goodwin, 843 F.2d 1150 (8th Cir.1988) ........................................................................... 8

Whitmore v. Arkansas, 495 U.S. 149 (1990) ................................................................................ 14

Williamson v. Tucker, 645 F.2d 404 (5th Cir.1981) ....................................................................... 2

Wyman v. James, 400 U.S. 309 (1971) ......................................................................................... 10

Zaffuto v. City of Hammon, 308 F.3d 485 (5th Cir. 2002).............................................................. 7

Statutes

42 U.S.C. § 1983 ....................................................................................................................... 1, 16

28 U.S.C. § 2201 ............................................................................................................................. 3

Rules

Fed. R. Civ. P. 12(b)(1)..................................................................................................... 1, 2, 4, 16



                                                                      iv
    Case 3:19-cv-00219-M Document 11 Filed 03/11/19                                          Page 5 of 19 PageID 176


Other Authorities

Dallas, Tex. Code § 27-32 .............................................................................................................. 1

Dallas, Tex. Code § 27-32(a)(8) ..................................................................................................... 8

Dallas, Tex. Code § 27-38(a) .......................................................................................................... 6




                                                                    v
     Case 3:19-cv-00219-M Document 11 Filed 03/11/19                Page 6 of 19 PageID 177


                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

MA LEG PARTNERS 1,                             §
                                               §
                       Plaintiff,              §
                                               §
v.                                             §        Civil Action No. 3:19-cv-00219-M
                                               §
CITY OF DALLAS,                                §
                       Defendant.              §

 DEFENDANT CITY OF DALLAS’S BRIEF IN SUPPORT OF MOTION TO DISMISS
            FOR LACK OF SUBJECT-MATTER JURISDICTION

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        Defendant, City of Dallas (the “City”), files this brief in support of its motion to dismiss

pursuant to Fed. R. Civ. P. 12(b)(1) for lack of jurisdiction.

                                         I.        OVERVIEW

        On September 12, 2018, MA LEG Partners 1 (“Plaintiff”) received a notice of violation for

failing to provide an application for a rental property as required by section 27-32 of the Dallas

City Code. Plaintiff subsequently filed this lawsuit alleging that section 27-32 and many other

provisions of the City’s rental property requirements contained in Chapter 27 of the Dallas City

Code (“Chapter 27”) are unconstitutional. Though Plaintiff claims nine counts of constitutional

violations relating to various provisions of Chapter 27, it has never been cited or fined for any

provision of Chapter 27. The only action taken by the City against Plaintiff was issuing a notice

of violation for failing to submit an application under section 27-32. Plaintiff has not suffered any

injury in fact. The City moves the Court to dismiss Plaintiff’s claims because it failed to establish

standing under Article III of the Constitution. The City has separately moved to dismiss on the

grounds that, even if Plaintiff did have standing, it failed to state a claim upon which relief can be

granted.

                                                    1
   Case 3:19-cv-00219-M Document 11 Filed 03/11/19                   Page 7 of 19 PageID 178


                              II.     ARGUMENT AND AUTHORITIES

        A. Legal Standards Under 12(b)(1).

        Federal Rule of Civil Procedure 12(b)(1) authorizes the dismissal of a case for lack of

jurisdiction over the subject matter. On a Rule 12(b)(1) motion, the district court is free to weigh

the evidence and satisfy itself as to the existence of its power to hear the case. Williamson v.

Tucker, 645 F.2d 404, 413 (5th Cir.1981). In ruling on a motion to dismiss under Rule 12(b)(1),

the court may rely on: (1) the complaint alone; (2) the complaint supplemented by undisputed

facts; or (3) the complaint supplemented by undisputed facts and the court's resolution of disputed

facts. Id.

        B. Plaintiff lacks standing to bring its claims against the City.

        A complaint must be dismissed if “the court lacks the statutory or constitutional power to

adjudicate the case.” See Home Builders Ass’n of Miss., Inc. v. City of Madison, 143 F.3d 1006,

1010 (5th Cir. 1998). It is the burden of the party who seeks federal jurisdiction to “clearly allege

facts demonstrating that [it] is a proper party to invoke the judicial resolution of the dispute.”

United States v. Hays, 515 U.S. 737, 743 (1995) (internal quotations and citation omitted).

Standing under Article III of the Constitution is jurisdictional, such that it must be addressed before

the court may undertake a consideration of the merits of a plaintiff’s claims. Audler v. CBC Innovis

Inc., 519 F.3d 239, 247-48 (5th Cir. 2008).

        Standing requires that a plaintiff establish, for each claim, “(1) that the plaintiff have

suffered an ‘injury in fact—an invasion of a legally protected interest which is (a) concrete and

particularized, and (b) actual or imminent’; (2) that there is ‘a causal connection between the injury

and the conduct complained of; and (3) that the injury is likely to be redressed by a favorable

decision.” Fla. Dep't of Ins. v. Chase Bank of Tex. Nat'l Ass'n, 274 F.3d 924, 929 (5th Cir.2001)

(quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-561 (1992). An injury in fact must be
                                                  2
  Case 3:19-cv-00219-M Document 11 Filed 03/11/19                   Page 8 of 19 PageID 179


“concrete and . . . actual or imminent, not conjectural or hypothetical.” Inclusive Cmty. Project,

Inc. v. Tex. Dep’t of Hous. & Cmty. Affairs (“ICP I”), No. 3:08-CV-0546-D, 2008 WL 5191935,

at *2 (N.D. Tex. Dec. 11, 2008). Moreover, “the injury must affect the plaintiff in a personal and

individual way.” Id.

       Plaintiff brought claims for constitutional violations under 42 U.S.C. § 1983 and the

Declaratory Judgments Act, 28 U.S.C. § 2201. Plaintiff has the burden to allege facts that give

rise to a plausible claim of standing for each of its claims. Cornerstone Christian Sch. v. Univ.

Interscholastic League, 563 F.3d 127, 134 (5th Cir. 2009). Plaintiff failed to discharge its burden

and the City presents a facial challenge to Plaintiff’s standing against the City. Plaintiff failed to

establish standing to bring a claim for any of the constitutional violations alleged in its Complaint.

As Plaintiff alleges no other federal claims sufficient to confer jurisdiction upon this Court,

Plaintiff’s claims should be dismissed pursuant to Federal Rule of Civil Procedure 12(b)(1).

               a. Plaintiff lacks standing to bring its Fourth and Fourteenth Amendment
                  Claims.

       Count One of Plaintiff’s Complaint alleges Chapter 27 violates Plaintiff’s Fourth and

Fourteenth Amendment rights to privacy. (ECF No. 1 at 26). Specifically, Plaintiff complains the

City’s request for the following information attached to a registration application from a rental

property owner violate its right to privacy:

       (i)     Contact information for the holder of any deed of trust or mortgage lien on the
               property, sec. 27-32(a)(1)(D);
       (ii)    Contact information for the property owner’s casualty insurance carrier, sec. 27-
               32(a)(1)(E);
       (iii)   “the name and mailing address for each principal officer, director, general partner,
               trustee, manager, member, or other person charged with the operation, control, or
               management of the entity,” sec. 27-32(a)(3);
       (iv)    “the location of business records pertaining to the rental property,” sec. 27-
               32(a)(4);




                                                  3
   Case 3:19-cv-00219-M Document 11 Filed 03/11/19                    Page 9 of 19 PageID 180


        (v)   “a copy of the owner’s current driver’s license or other government-issued
              personal identification card containing a photograph of the owner, if the owner is
              a natural person,” sec. 27-32(a)(5); and
      (vi)    “a list of businesses… operating out of the property and offering goods or
              services to persons residing at or visiting the property,” sec. 27-32(a)(6).
(ECF No. 1 at 27)

        Plaintiff contends these items “of business and personal information are protected from

disclosure by the property owner’s expectation of privacy pursuant to the Fourth and Fourteenth

Amendments.” (ECF No. 1 at 27). Yet, according to its Complaint, Plaintiff did not provide an

application to the City and did not provide the information requested in items (i) through (vi)

above. Therefore, no search or seizure occurred and no invasion of a legally protected interest

occurred. The Fourth Amendment has no application where there has been no “search” or

“seizure.” E.E.O.C. v. Peterson, Howell & Heather, Inc., 702 F. Supp. 1213, 1219 (D. Md. 1989);

United States v. Jacobsen, 466 U.S. 109, 113 (1984). As no search took place, Plaintiff suffered

no injury and lacks standing to claim a violation of the Fourth Amendment or Fourteenth

Amendment. See Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1548 (2016) (“A ‘concrete injury’ . . .

must actually exist”).

        Additionally, Plaintiff lacks standing to assert a violation of privacy rights under the Fourth

and Fourteenth Amendments because Plaintiff had no reasonable expectation of privacy in any of

the materials sought by the City. See Dickens v. Lewis, 750 F.2d 1251, 1254 (5th Cir. 1984);

United States v. Kennedy, 638 F.3d 159 (3d Cir. 2011) (“Fourth Amendment standing requires that

the individual challenging the search have a reasonable expectation of privacy in the property

searched . . . and that he manifest a subjective expectation of privacy in the property searched”).

Items (i), (ii), (iii), and (vi) concern the records of other entities or individuals, and Plaintiff does

not have standing to vicariously assert the Fourth Amendment rights of others. See Dickens, 750

F.2d at 1254 (“Dickens has no standing to challenge any search of Shelton's premises because he

                                                   4
  Case 3:19-cv-00219-M Document 11 Filed 03/11/19                     Page 10 of 19 PageID 181


has no legitimate expectation of privacy in the premises of a business belonging to others.”); Rakas

v. Illinois, 439 U.S. 128, 133–34 (1978) (“Fourth Amendment rights are personal rights which . .

. may not be vicariously asserted.”) (quoting Alderman v. United States, 394 U.S. 165, 174,

(1969)).

        Even if Plaintiff could assert Fourth Amendment rights on behalf of its officers or directors,

it would still lack standing because there is no reasonable expectation of privacy in the information

requested in the application. Section 27-32(a) does not require an owner’s home address and the

business addresses of the individuals who own or control the property-owning company are

generally a matter of public record and not within an individual’s reasonable expectation of

privacy. See United States v. Watson, 244 F. App'x 484, 488 (3d Cir. 2007); Maryland v.

Macon, 472 U.S. 463, 469 (1985) (finding that there is no reasonable expectation of privacy in

areas of a business where the public is invited to enter and to transact business); Stamm v. Cty. of

Cheyenne, 326 F. Supp. 3d 832, 849 (D. Neb. 2018) (“Certainly, there is no question that an

individual cannot expect to have a constitutionally protected privacy interest in matters of public

record.”); Lowe v. Clift, No. 1:06-CV-076, 2007 WL 2112672, at *6 (E.D. Tenn. July 19, 2007)

(“Plaintiff … has no Fourteenth Amendment claim for the dissemination of information that is

neither sensitive nor private.”).

        Additionally, Plaintiff failed to identify a reasonable expectation of privacy in items (iv)

and (v). Item (v) does not apply to Plaintiff because it is not a natural person. Plaintiff also fails to

identify a reasonable expectation of privacy in the information sought by item (iv), the location of

business records pertaining to the property. Business addresses are generally a matter of public

records and Plaintiff fails to identify a reasonable expectation of privacy in this information.

Maryland v. Macon, 472 U.S. 463, 469 (1985) (finding that there is no reasonable expectation of



                                                   5
  Case 3:19-cv-00219-M Document 11 Filed 03/11/19                  Page 11 of 19 PageID 182


privacy in areas of a business where the public is invited to enter and to transact business). As

Plaintiff does not have a reasonable expectation of privacy in any of the materials identified in

Count One of its complaint, it fails to state a claim for a violation of its Fourth Amendment rights.

As Plaintiff does not have a reasonable expectation of privacy in any of the materials identified in

Count One of its complaint, it lacks standing to bring a claim for a violation of its Fourth

Amendment rights.

               b. Plaintiff lacks standing to bring claims for violations of its Fourteenth
                  Amendment right to privacy.

       Plaintiff also fails to allege facts sufficient to demonstrate standing for a violation of its

Fourteenth Amendment right to privacy. To establish standing, Plaintiff “must show that the

alleged unconstitutional feature of the statute injures him, and so operates as to deprive him of a

constitutional right.” United States v. Herrera, 584 F.2d 1137, 1148 (2d Cir. 1978). Plaintiff failed

to allege a violation of a liberty interest or a privacy interest protected by the Fourteenth

Amendment in the information requested by the City. See Zaffuto v. City of Hammon, 308 F.3d

485, 490 (5th Cir. 2002) (finding Fourteenth Amendment privacy only applies to disclosures of

“intimate facts”); Wade v. Goodwin, 843 F.2d 1150, 1153 (8th Cir.1988) (“The constitutional right

to privacy is generally limited to only the most intimate aspects of human affairs.”); Lambert v.

Hartman, 517 F.3d 433 (6th Cir. 2008) (holding that plaintiff had no Fourteenth Amendment

privacy interest in her name, home address, birth date, driver's license number, and social security

number); Lowe, 2007 WL 2112672 at *6 (“Plaintiff has no privacy interest in his public presence

and the inferences drawn therefrom, and he has no Fourteenth Amendment claim for the

dissemination of information that is neither sensitive nor private.”). Therefore, it fails to

demonstrate standing for its claims under the Fourteenth Amendment.




                                                 6
  Case 3:19-cv-00219-M Document 11 Filed 03/11/19                   Page 12 of 19 PageID 183


               c. Plaintiff lacks standing to assert a Compelled Speech Claim.

       In Counts One and Two, Plaintiff claims the City’s application and affirming affidavit in

section 27-32(a)(8) of the Dallas City Code violate its First Amendment rights against compelled

speech. (ECF No. 1 at 26-29). However, compelled speech requires interference with the

claimant’s message. Rumsfeld v. Forum for Academic & Institutional Rights, 547 U.S. 47, 63

(2006). Plaintiff failed to allege an injury sufficient to establish standing for its compelled speech

claim because it failed to state what its message is and how the application and affidavit alter that

message. Id. at 63-64. Instead, Plaintiff merely complains that it was asked to provide information

to verify eligibility for a program. Thus, Plaintiff fails to establish an injury to establish standing

for a compelled speech claim.

               d. Plaintiff lacks standing to bring a claim under the Unconstitutional
                  Conditions Doctrine.

       The Unconstitutional Conditions Doctrine forbids burdening the Constitution's enumerated

rights by coercively withholding benefits from those who exercise them. Koontz v. St. Johns River

Water Mgmt. Dist., 570 U.S. 595, 606 (2013). In Counts One and Two, Plaintiff contends the

City’s application requirement, affidavit and self-inspection forms violate the Unconstitutional

Conditions Doctrine by requiring the owner to submit the required information to engage in leasing

private property. (ECF No. 1 at 26-29). However, Plaintiff has not alleged the application required

by the City conditioned a benefit on a waiver of Plaintiff’s constitutional rights and Plaintiff fails

to allege the application requires the waiver of any rights by Plaintiff. Instead, the application

requires that the property owner provide some pieces of information, several of which Plaintiff

acknowledges can be publicly available. (ECF No. 1 at 8, 10, 12, 14); Stamm v. Cty. of Cheyenne,

326 F. Supp. 3d 832, 849 (D. Neb. 2018) (“Certainly, there is no question that an individual cannot

expect to have a constitutionally protected privacy interest in matters of public record.”).

                                                  7
  Case 3:19-cv-00219-M Document 11 Filed 03/11/19                 Page 13 of 19 PageID 184


Therefore, Plaintiff does not allege the City conditioned a benefit on the waiver of any

constitutional rights.

        As described above, the information requested to determine program eligibility is not

information to which Plaintiff has a reasonable expectation of privacy and the request for

information is not a search under the Fourth Amendment. See Wyman v. James, 400 U.S. 309,

317–18 (1971); Sanchez v. County of San Diego, 464 F.3d 916, 921 (9th Cir. 2006). Similarly,

while the City requests information to verify program eligibility, this does not amount to compelled

speech or a waiver of Plaintiff’s First Amendment rights. Forum for Academic & Institutional

Rights, 547 U.S. at 47. Therefore, Plaintiff fails to allege the City conditioned the program on a

waiver of constitutional rights.

        Further, while Plaintiff raises concerns about future enforcement of other portions of

Chapter 27, it has not been subjected to such actions to date and the text of the statutes does not

support Plaintiff’s suggestion that Chapter 27 requires it to waive any rights by submitting an

application. (ECF No. 1 at Exhibits A and C). Plaintiff’s property has not been searched and

Plaintiff failed to allege an actual or imminent injury in fact. Stewart v. City of Red Wing, 554 F.

Supp. 2d 924, 929 (D. Minn. 2008) (“To the extent plaintiffs contend that the [Rental Dwelling

Licensing Code] coerces their consent to an illegal search, none of the plaintiffs in this case has

yet consented to a search of his or her rental property.”).

                e. Plaintiff lacks standing to bring an equal protection challenge.

        Plaintiff asserts the City’s requirement to register and submit an application violates the

equal protection clause of the Fourteenth Amendment, but it fails to allege any facts sufficient to

establish standing under the equal protection clause. “[T]o to show Article III standing for

constitutionally-protected equal protection claims, a plaintiff must allege that (1) there exists a



                                                  8
  Case 3:19-cv-00219-M Document 11 Filed 03/11/19                     Page 14 of 19 PageID 185


reasonable likelihood that the plaintiff is in the disadvantaged group, (2) there exists a government-

erected barrier, and (3) the barrier causes members of one group to be treated differently from

members of the other group.” Comer v. Cisneros, 37 F.3d 775, 793 (2d Cir. 1994); See also

Hampton Co. Nat. Sur., LLC v. Tunica County, Miss., 543 F.3d 221, 228 (5th Cir.2008). Plaintiff

failed to establish standing under the equal protection clause because it does not allege it is in a

disadvantaged group, that there is a government erected barrier, or that the barrier causes members

of one group to be treated differently from members of the other group. Indeed, Plaintiff does not

cite a single fact to indicate it has been treated differently from any other group. Therefore, Plaintiff

failed to establish standing to bring an equal protection claim.

                f. Plaintiff lacks standing to bring the Fifth and Fourteenth Amendment
                   Self Incrimination claims in Count Two.

        In Count Two of its Complaint, Plaintiff asserts Chapter 27 requires the property owner to

submit an affidavit and self-inspection form in violation of the property owner’s rights to

protection from self-incrimination under the Fifth and Fourteenth Amendments. (ECF No. 1 at 28-

29). Plaintiff fails to allege how the submission of an affidavit verifying its eligibility for the

program will lead to self-incrimination. See Moore v. Comm'r, 722 F.2d 193, 195 (5th Cir. 1984)

(finding speculative threats of harm do not invoke Fifth Amendment protections”). Therefore,

Plaintiff fails to demonstrate an injury or threatened injury necessary to demonstrate standing for

it claims under the Fifth and Fourteenth Amendments.

                g. Plaintiff fails to allege an injury in fact to establish standing for Counts
                   Three through Eight.

        In Counts Three through Eight, Plaintiff complains of speculative and hypothetical issues

that may arise from enforcement of other portions of Chapter 27. (ECF No. 1 at 26-35). Plaintiff




                                                   9
  Case 3:19-cv-00219-M Document 11 Filed 03/11/19                     Page 15 of 19 PageID 186


only alleges the possibility of future injury and, thus, fails to demonstrate an injury or redressability

these claims.

        In Count Three, Plaintiff contends that Chapter 27 requires that the owner submit, in

connection with registration of a single dwelling unit “any additional information . . . that the

director deems necessary.” (ECF NO. 1 at 29-35). However, Plaintiff does not plead that it was

cited for violations of this provision of Chapter 27. Plaintiff does not allege nor does the text of

the rental application attached to Plaintiff’s complaint support the contention that the application

requires the property owner to consent to providing any additional information, and Plaintiff does

not even allege it was asked to provide additional information pursuant to this provision. (ECF No.

1 at Exhibit C).

        In Count Four of its Complaint, Plaintiff contends that the City’s requirements regarding

rental property business records violate its constitutional rights. (ECF No. 1 at 30). Yet, Plaintiff

does not plead it received a notice of violation or citation for violations of these provisions.

        Count Five alleges “the City’s inconsistent interpretation and application of Chapter 27’s

minimum property standards results in in erratic and ineffective communications with, and

inequitable fines and penalties imposed upon, property owners in violation of their Fifth and

Fourteenth Amendments rights to due process and equal protection.” (ECF No. 1 at 30).

Specifically, Plaintiff complains about the potential harm that could arise from repeated

inspections on a property by different inspectors. (ECF No. 1 at 31). Yet again, Plaintiff fails to

allege it has been injured and how a program using different code inspectors could cause a

constitutional violation. Plaintiff does not allege it has been subjected to any inspections. Plaintiff

has only received a notice of violation for failing to submit a required application, not for failing

an inspection. Plaintiff does not allege it has been subjected to any interpretation and application



                                                   10
  Case 3:19-cv-00219-M Document 11 Filed 03/11/19                    Page 16 of 19 PageID 187


of the City’s minimum property standards. Plaintiff has not received a fine or penalty under

Chapter 27 for a minimum property standard violation and received no fines or penalties under

Chapter 27 at all.

        Count Six similarly alleges Chapter 27 lacks sufficient procedural substance regarding

notice to and participation by the property owner in the “warrant issuance process.” (ECF No. 1 at

31-32). Plaintiff does not allege any injury as a result of the City’s warrant issuance process and,

indeed, does not even contend the City sought a warrant against it.

        Count Seven alleges the City’s imposition of fines allowed by Chapter 27 violates the

constitution. (ECF No. 1 at 33-35). However, Plaintiff has not received notice of fine, demand for

payment, received a citation from the City, or paid any fine.

        Count Eight similarly complains about an alleged undue risk of depriving an owner of a

jury trial. (ECF No. 1 at 35). Plaintiff has not been fined, charged, or tried for any violation of

Chapter 27. Plaintiff’s claims are based solely on speculation about future enforcement and are not

ripe. Cheffer v. Reno, 55 F.3d 1517, 1523-24 (11th Cir.1995) (“Challenges brought under the

Eighth Amendment Excessive Fines clause are “generally not ripe until the actual, or impending,

imposition of the challenged fine.”). Plaintiff cannot be harmed or injured by something that has

not occurred and it is speculative that it will ever occur.

        Counts Three through Eight contain only allegations of possible future injuries and fail to

demonstrate any injury caused by the City or any injury that can be redressed by the City. It is

well-settled that “[a]llegations of possible future injury do not satisfy the requirements of Art. III.”

Whitmore v. Arkansas, 495 U.S. 149, 158 (1990); see also Johnson v. State of Missouri, 142 F.3d

1087, 1089 (8th Cir. 1998). Plaintiff’s speculation that it may one day be injured is insufficient to

establish standing. Stewart v. City of Red Wing, 554 F. Supp. 2d 924, 929 (D. Minn. 2008) (“To



                                                  11
  Case 3:19-cv-00219-M Document 11 Filed 03/11/19                  Page 17 of 19 PageID 188


the extent plaintiffs contend that the [Residential Dwelling Licensing Code] coerces their consent

to an illegal search, none of the plaintiffs in this case has yet consented to a search of his or her

rental property.”); City of Los Angeles v. Lyons, 461 U.S. 95, 105 (1983) (finding plaintiff lacked

standing to seek an injunction of a police chokehold procedure because he failed to establish a real

and immediate threat that he would be stopped by officers in the future and subjected to the

chokehold); Smook v. Minnehaha County, 457 F.3d 806, 816 (8th Cir.2006) (holding that plaintiffs

lacked Article III standing because “attempting to anticipate whether any of the plaintiffs would

actually be detained and strip searched would take us into the area of speculation and conjecture”);

Johnson v. State of Mo., 142 F.3d 1087, 1089–90 (8th Cir.1998) (finding plaintiffs lacked Article

III standing to challenge a state statute imposing sanctions for frivolous inmate lawsuits because

no court had yet determined plaintiffs' lawsuits to be frivolous); see also Tobin v. City of Peoria,

939 F.Supp. 628, 635 (C.D.Ill.1996) (finding the possibility that defendant-city would violate

landlords' Fourth Amendment rights, where defendant agreed to seek an administrative warrant

from a reviewing judge, too speculative to create an immediate and real injury). Therefore, Plaintiff

fails to demonstrate it has standing to bring Counts Three through Eight of its Complaint.

       Furthermore, Plaintiff fails to demonstrate its claims in Counts Three through Eight are

ripe for review. Indeed, a number of Plaintiff’s arguments concern the City’s enforcement practices

under Chapter 27. As no enforcement has taken place to date, Plaintiff’s claims are necessarily not

ripe for review at this point. See Socialist Labor Party v. Gilligan, 406 U.S. 583, 587–88

(1972) (determining constitutional and void-for-vagueness claims were unfit for review because

very little was known about the operation of the challenged affidavit requirement and its potential

effect on claimants), compare Roark & Hardee LP v. City of Austin, 522 F.3d 533, 544 (5th Cir.

2008) (finding challenge to ordinance ripe when multiple notices of violations of the challenged



                                                 12
  Case 3:19-cv-00219-M Document 11 Filed 03/11/19                   Page 18 of 19 PageID 189


provisions had been issued and evidence provided an adequate record of the ordinance’s

operation); see also Cheffer v. Reno, 55 F.3d 1517, 1523-24 (11th Cir.1995) (“Challenges brought

under the Eighth Amendment Excessive Fines clause are “generally not ripe until the actual, or

impending, imposition of the challenged fine.”).

               h. Plaintiff fails to allege an injury in fact to establish standing for Count
                  Nine.

       In Count Nine, Plaintiff’s makes the conclusory allegation that the unconstitutional

provisions of Chapter 27 “deprive property owners in Dallas, Texas of rights, privilege, and

immunities secured by the United States Constitution and federal laws.” (ECF No. 1 at 35-36). As

described above, Plaintiff failed to establish standing to bring a claim for any of the constitutional

violations alleged in its Complaint and fails to establish standing under section 1983. As Plaintiff

alleges no other federal claims sufficient to confer jurisdiction upon this Court, Plaintiff’s claims

should be dismissed pursuant to Rule 12(b)(1).

                                          III.   PRAYER

       WHEREFORE, the City of Dallas respectfully asks the Court grant the City of Dallas’

motion to dismiss for lack of jurisdiction in whole or, alternatively in part, and dismiss Plaintiff’s

claims against the City with prejudice.




                                                 13
  Case 3:19-cv-00219-M Document 11 Filed 03/11/19                Page 19 of 19 PageID 190




                                                     Respectfully submitted,
                                                     OFFICE OF THE CITY ATTORNEY
                                                     CITY OF DALLAS, TEXAS

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                              CERTIFICATE OF SERVICE

       I certify that on March 11, 2019, I electronically filed the foregoing document with the

clerk of court for the United States District Court for the Northern District of Texas using the

electronic case failing system of the court. The electronic case filing system sent a “Notice of

Electronic Filing” to all counsel of record who have consented in writing to accept this Notice as

service of this document by electronic means.

                                             s/ Charles A. Estee
                                             CHARLES A. ESTEE




                                                14
